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 2
 3                                UNITED STATES DISTRICT COURT
 4                                      DISTRICT OF NEVADA
 5                                                 ***
 6    UNITED STATES OF AMERICA,                         Case No. 2:19-cr-00271-RFB-VCF
                                                                          ORDER
 7                       Plaintiff,
 8           v.
 9    DAVID GLENN COX,
10                      Defendant.
11
12           Based upon the record in this case, including the communication to the Court from
13   Nevada Southern Detention Center, the Court finds there is a basis to order a competency
14   evaluation of Defendant David Glenn Cox pursuant to 18 U.S.C. § 4241. The Court finds that
15   there is sufficient basis to question whether Defendant David Glenn Cox can adequately and
16   competently understand the criminal proceedings and whether he can adequately and competently
17   assist his attorney in defending against or resolving the violations that have been alleged against
18   him.
19          IT IS THEREFORE ORDERED:
20                1. In accordance with 18 U.S.C. §§ 4241 and 4247 the Defendant is remanded into
21   the custody of the Attorney General for the purpose of completing a competency evaluation. The
22   Court authorizes, if necessary, the United States Marshals Service to transport Defendant David
23   Glenn Cox to a suitable Bureau of Prisons (“BOP”) facility that conducts psychological
24   evaluations closest to the Court, for a psychiatric or psychological evaluation to determine
25   whether the Defendant is presently suffering from a mental health affliction or defect rendering
26   him mentally incompetent to the extent that he is unable to understand the nature and
27   consequences of the proceedings against him or to assist properly in his defense; and
28           2. The Defendant shall be held in a BOP facility for a reasonable period of time, not to
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 1   exceed thirty days, unless extended by further order of the Court upon a showing of good cause
 2   by the director of the facility that the additional time is necessary to observe and evaluate
 3   Defendant, or by appropriate motion, for a period of up to fifteen additional days. 18 U.S.C. §
 4   4247(b). If the Attorney General and the Bureau of Prisons determine that the current setting where
 5   Defendant is being detained is suitable for his to participate in the evaluation, that evaluation can
 6   take place where he is currently detained.
 7              3. The examination conducted pursuant to this order shall be conducted by one
 8   or more licensed or certified psychiatrists or clinical psychologists. 18 U.S.C. § 4247(b).
 9              4. A psychiatric or psychological report shall be prepared by the examiner
10   designated to conduct the psychiatric or psychological examination. The person designated
11   to conduct the psychiatric or psychological examination shall file the report, under seal, with
12   the Court by November 5, 2021.
13              5. The report shall include:
14                  a.      The Defendant’s history and present symptoms;
15                  b.      A description of the psychiatric, psychological or medical
16                  tests that were employed and their results;
17                  c.      The examiner’s findings; and
18                  d.      The examiner’s opinions concerning whether the Defendant is
19   suffering from a mental affliction or defect rendering his mentally incompetent to the extent
20   that he is unable to understand the nature and consequences of the proceedings against
21   him, or to assist properly in his defense.
22
23          IT IS SO ORDERED.
24
            DATED: September 30, 2021.
25
26                                            _______________________________________
                                              RICHARD F. BOULWARE, II
27                                            UNITED STATES DISTRICT JUDGE
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